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( Ecr Gt ]

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Zurich American Insurance Company Civil Action No.:

!
I
Plaintiff, ! 1:22-cv-01535-CPO-MJS
I \
vs. | [PROPO ER ON
| EXTENSION OF DEADLINE TO
! COMPLETE DEPOSITIONS OF
' ROBERT CAPOFERRI AND
| ASPHALT 30(B)(6)
' REPRESENTATIVE

Asphalt Paving Systems, Inc.

Defendant.

This matter coming to be heard on the Joint Motion to Extend the Deadline to Complete
Depositions of Robert Capoferri and Asphalt’s 30(b)(6) Representative submitted by Plaintiff
Zurich American Insurance Company (“Zurich”) and Defendant Asphalt Paving Systems, Inc.
(“Asphalt”), good cause having been show, the Court extends the deadline to complete the
depositions of Mr. Capoferri and Asphalt’s 30(b)(6) deposition by 7 days up to and including
August 1, 2024.

All other terms of the Scheduling Order remain in full force and effect.

ENTERED BY:
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DATED: SO ORDERED t2!3 Zutl dwg
JOINTLY SUBMITTED BY: f A) 4
(Ur
PLAINTIFF DEFENDANT Matthew J. Skahill, USMJ
/s/_ Christopher B. Fontenelli /s/ John F. Palladino
Christopher B. Fontenelli (082532014) John F. Palladino (042771989)
LOCKE LORD LLP Colin G. Bell (018552005)
One Gateway Center Amanda Szmuc (409552022)

Newark, NJ 07102 HANKIN SANDMAN PALLADINO
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